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                            EXHIBIT 2
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From:            William C. McCorriston
To:              Kenneth M. Sorenson
Cc:              Lowell, Abbe David
Subject:         Fwd: Phones
Date:            Friday, July 13, 2018 4:59:41 PM


Ken, below are the descriptions of Nickie’s Mom’s and daughter’s cell phones. We would
appreciate it if priority is given to their expedited return. Thank you. Mac

Sent from my iPhone

Begin forwarded message:


       From: "William C. McCorriston" <WMcCorriston@                             >
       Date: July 13, 2018 at 10:47:31 AM HST
       To: "William C. McCorriston" <WMcCorriston@                           >
       Subject: FW: Phones



       Moms Hawaii phone was taken yesterday and it’s an old iPhone w pink cover and
       number is              .
       I don’t know the security code on it.

       Sloane’s phone is iPhone 7 with code         and has nothing on it.




       Sent from ProtonMail Mobile
